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 3
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 5
                                 UNITED STATES DISTRICT COURT
 6
                          FOR THE EASTERN DISTSRICT OF CALIFORNIA
 7

 8                                                  ) Case No. 11-cr-00490 JAM
     UNITED STATES OF AMERICA,                      )
 9                                                  ) ORDER SEALING REPORT
                    Plaintiff,                      ) Local Rule 141(b)
10                                                  )
            vs.                                     )
11                                                  )
     IRINA MARKEVICH,                               )
12                                                  )
                    Defendant.                      )
13
            IT IS HEREBY ORDERED that the stipulation and order continuing date for compliance
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15
     with Rule 17(c) subpoena be sealed. Access to said stipulation and order is hereby granted to

16   defense counsel of record for defendant Irina Markevich.

17   Dated: February 19, 2015
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